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1    SCOTT N. CAMERON
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2    1007 7th Street, Suite 319
     Sacramento, California 95814
3    Telephone: (916) 442-5230
4    Attorney for:
     ANTHONY WILLIAMS
5
6
                         IN THE UNITED STATES DISTRICT COURT
7
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9    UNITED STATES OF AMERICA,     )           CASE NO.    2:11-cr-00353 MCE
                                   )
10                  Plaintiff,     )           STIPULATION AND ORDER VACATING
                                   )           STATUS CONFERENCE REGARDING
11        v.                       )           SENTENCING AND SETTING HEARING FOR
                                   )           SENTENCING
12   SEAN McCLENDON, et. al.,      )
                                   )           DATE:     December 7, 2012
13                  Defendants.    )           TIME:     9:00 a.m.
     ______________________________)           COURT:    Hon. Morrison England, Jr.
14
15                                     Stipulation
16        IT IS HEREBY stipulated between the United States of America
17   through its undersigned counsel, Jean Hobler, Esq., Assistant United
18   States Attorney, counsel for defendant Sean McClendon, Donald H.
19   Heller, Esq., and counsel for defendant Anthony Williams, Scott N.
20   Cameron,   Esq.,    that   the   status       conference   regarding   sentencing
21   presently set for December 7, 2012, may be vacated, and that the date
22   for judgment and sentencing of both defendants may be set for June 27,
23   2013, at 9:00 a.m. Both defendants are continuing to cooperate with
24   the government and their sentencing should not occur until the pending
25   trial against the remaining defendant has concluded.              It is further
26   stipulated that, as to defendants Anthony Williams and Sean McClendon,
27   the matter will not be referred to the U.S. Probation Department for
28   a Pre-sentence Investigation Report until it has been determined by

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1    the parties that the sentencing will occur on June 27, 2013, and in
2    that event, the parties shall submit a stipulation and order referring
3    the case to the U.S. Probation on or before April 1, 2013.             In the
4    event that the remaining defendant resolves his case before the
5    currently scheduled trial date, the parties to this stipulation intend
6    to request, after consultation with the U.S. Probation Department,
7    that the sentencing date be advanced accordingly.
8         The parties have authorized the defense counsel for Anthony
9    Williams to sign this stipulation on their behalf.
10   DATED: November 29, 2012                  BENJAMIN WAGNER
                                               United States Attorney
11
                                      by       /s/ Scott N. Cameron, for
12                                             Jean Hobler
                                               Assistant U.S. Attorney
13
     DATED: November 29, 2012         by       /s/ Scott N. Cameron
14                                             Scott N. Cameron
                                               Counsel for ANTHONY WILLIAMS
15
16   DATED: November 29, 2012         by       /s/ Scott N. Cameron, for
                                               Donald H. Heller
17                                             Counsel for SEAN McCLENDON
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1                                       ORDER
2          Based on the stipulation by and between Assistant U.S. Attorney
3    Jean Hobler, Esq., Donald H. Heller, Esq., and Scott N. Cameron, Esq.,
4    and for Good Cause Appearing, it is hereby ordered that the Status
5    Hearing regarding sentencing of defendants Sean McClendon and Anthony
6    Williams, currently scheduled for December 7, 2012, be vacated, and
7    that the date for the judgment and sentencing of Sean McClendon and
8    Anthony Williams be set for June 27, 2013, at 9:00 a.m.
9         IT IS SO ORDERED.
10
     Dated: December 5, 2012
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12                                      _____________________________
13                                      MORRISON C. ENGLAND, JR.
                                        UNITED STATES DISTRICT JUDGE
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